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                        IN THE UNITED STATES DISTRICT COUR T
                            FOR THE DISTRICT OF NEBRASKA



DEBORAH BURNS,                                 )                Civil No .

                      Plaintiff,
                                                         NOTICE OF REMOVA L
          v.                                               AND REQUEST
                                                         FOR PLACE OF TRIAL
FATHER FLANAGAN'S BOYS HOME,
FATHER FLANAGAN'S BOYS HOM E
d/b/a BOYS TOWN PEDIATRICS ; BOY S
TOWN d/b/a BOYS TOWN PEDIATRICS ,

                      Defendant .


          Pursuant to 28 U .S.C. § 1441(b) and 28 U .S .C. § 1446, Father Flanagan's

Boys' Home d/b/a Boys Town Pediatrics, the properly named Defendant in th e

above captioned action, through its undersigned attorneys, hereby removes thi s

case to the United States District Court for the District of Nebraska, and i n

support thereof states as follows :

          Removal is based upon federal question jurisdiction in that the Plaintiff' s

Amended Complaint alleges a claim for relief under the Americans Wit h

Disabilities Act of 1990, as amended, 42 U .S .C . § 12101 et seq.     This Court has

supplemental jurisdiction pursuant to 28 U .S .C . § 1367(a) over all other claim s

asserted by Plaintiff. Attached hereto are copies of the Summons and "Firs t

Amended Complaint, Jury Demand and Praecipe," served by certified mail upo n

Father Flanagan's Boys' Home on January 6, 2010 .




{1124676 .1}
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          Pursuant to NECivR 40 .1(b), Defendant requests that trial of this action tak e

place in Omaha, Nebraska .

          Dated this 18th day of January, 2010 .

                                          FATHER FLANAGAN'S BOYS' HOME d/b/ a
                                          BOYS TOWN PEDIATRICS, Defendant

                                          By :   /s/ Mary Kay O'Connor
                                          Mary Kay O'Connor, #1814 8
                                          CLINE, WILLIAMS, WRIGHT,
                                          JOHNSON 8; OLDFATHER, L .L.P.
                                          One Pacific Place
                                          1125 South 103rd Street, Suite 32 0
                                          Omaha, Nebraska 68124-1090
                                          (402) 397-170 0
                                          moconnor@clinewilliams .com


                               CERTIFICATE OF SERVIC E

        I, Mary Kay O'Connor, hereby certify that on this 18th day of January ,
2010, I electronically filed the foregoing document with the Clerk of the Unite d
States District Court using the CM/ECF system, which sent notification of suc h
filing to the following :

Kathleen M . Neary
Vincent M . Powers and Associate s
411 South 13 th Street, Suite 30 0
Lincoln, NE 68508


                                                    Is/ Mary Kay O'Connor
                                                   Mary Kay O'Conno r




{1124676 .1}
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                                                                         /(C s
            IN THE DISTRICT COURT, DOUGLAS COUNTY, NEBRASK A


                              Deborah J . Burn s

                                     vs .

Father Flanagan's Boys' Home ; Father Flanagan's Boys' Home d/b/a Boys
        Town Pediatrics ; Boys Town d/b/a Boys Town Pediatric s

SUMMONS BY CERTIFIED MAIL                                 DOC . 1102 NO . 63 5

STATE OF NEBRASKA    )
COUNTY OF DOUGLAS    )

       This is to notify Father Flanagan's Boys' Hom e
                         (Impleaded with others )



Defendant that you have been sued by Deborah J . Burn s




Plaintiff in the District Court of said County, and that in order t o
defend the lawsuit you must file an appropriate written response i n
the Office of the Clerk of said Court within thirty days after servic e
of Summons and First Amended Complaint in answer to the First Amende d
Complaint said Plaintiff filed against you or such First Amende d
Complaint will be taken as true and judgment rendered accordingly fo r
the relief demanded in the attached First Amended Complaint .

RETURN of this Summons is due within ten days after return of th e
signed receipt .

       WITNESS my signature and the Seal of said Court at Omah a
       and issued this 30th day of December, 2009 .

                                      JOHN M . FRIEND, CLERK „   ,irm
                                      BY : `               L-*,1 Q   U
                                           Deputy\

ATTORNEY FOR PLAINTIFF :
NAME :     Vincent M . Power s
ADDRESS : 411 South 13 th Street suite 30 0
           Lincoln, NE 6850 8
PHONE :    (402) 474-8000
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      IN THE DISTRICT COURT OF DOUGLAS COUNTY, NEBRASK A
                                                   Case No .
DEBORAH J. BURN S
                                                  W3 . s - (:,                                    35
                Plaintiff,                                      FIRST AMENDED COMPLAINT,
                                                                JURY DEMAND and PRAECIP E
vs.

FATHER FLANAGAN'S BOYS' HOME ;
FATHER FLANAGAN'S BOYS' HOM E
d/b/a/ BOYS TOWN PEDIATRICS ; BOYS
TOWN d/b/a BOYS TOWN PEDIATRICS,

                Defendants                                                                  %`' C,- `

        COMES NOW the Plaintiff, by and through her attorney, and for her firs t

amended complaint against the Defendants states as follows:

        1.        This is an action seeking redress for the violation of the rights guarantee d

to the Plaintiff by the Nebraska Fair Employment Practices Act, Neb . Rev . Stat . Sectio n

20-148, Nebraska common law and the Americans with Disabilities Act, as amended .

        2.         Jurisdiction of this Court is invoked pursuant to the Nebraska statute s

referenced herein, namely, the Nebraska Fair Employment Practices Act and Neb . Rev .

 Stat. Section 20-148 . This Court has jurisdiction over the claims brought pursuant t o

 federal law.

        3.         Plaintiff filed complaints of discrimination and retaliation with th e

 Nebraska Equal Opportunity Commission and the United States Equal Opportunit y

 Commission with respect to the allegations set forth herein as well as other allegations .

 The plaintiff has filed this timely action within 90 days of receipt of the right to su e

 notice . Attached hereto and incorporated herein by reference are the Notice of Right t o

 Sue letters issued by the United States Equal Employment Opportunity Commissio n

 dated December 22, 2009.
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        4.        At all times relevant, the Plaintiff was a resident of Douglas County ,

Nebraska.

        5.        At all times relevant, the Defendants were corporations and/or busines s

operating within Douglas County, Nebraska . Defendant Boys Town issued Plaintiff' s

paychecks and the Defendant Father Flanagan's Boys' Town . was listed at Plaintiff' s

employer on tax related documents . Plaintiff worked at Boys Town Pediatrics ; a facility

owned and/or operated by Defendant Boys Town and/or Father Flanagan's Boys' Town .

Upon information and belief, the defendants were engaged in providing health relate d

services and/or health care to the public . The Defendants are employers as that term i s

defined by the state and federal laws referenced herein .

        6.        Plaintiff Deborah Bums is a qualified person with a disability as that ter m

is defined by the Americans with Disabilities Act and the Nebraska Fair Employmen t

Practices Act as she : (1) has a physical and mental impairment(s) that substantially limit s

one or more of major life activities ; and/or (2) she has a record and/or history of such an

impairment and/or (3) the defendants perceived or regarded her as having such a n

impairment. Plaintiff Deborah Bums was able to perform the essential functions of he r

position with the Defendants with reasonable accommodation .

         7.        From approximately 2001 through June 7, 2007, Plaintiff had bee n

 employed with the Defendants at Boys Town Pediatrics, a facility owned and/or operate d

 by the Defendants noted herein, as a registered nurse . Plaintiff's work. perf rmancc wa s

 satisfactory .

         8.        Since 2005, Defendants were aware of Plaintiff's latex allergy . Fro m

 2005 through the date of her termination in 2007, Defendants repeatedly denied
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Plaintiff's requests for reasonable accommodation . In early, 2007, plaintiff suffered a

work related injury, to-wit one or more severe physical allergic reactions in th e

workplace. The severe physical allergic reactions resulted from the Defendants' failur e

to provide Plaintiff with reasonable accommodation in the workplace . Defendants were

fully aware of Plaintiff's disabilities as that termed is defined under state and federal

statute.

           9.      Plaintiff was wrongfully terminated from her full-time nursing positio n

with the Defendants on or about June 7, 2007 for a pretextual reason and/or in retaliatio n

for seeking reasonable accommodation(s) for her disability and/or for notifying th e

defendants of her work relatéd injury and/or filing a first incident report and/or

proceeding with her legal rights under the workers' compensation statutes of the State o f

Nebraska . Plaintiff's termination was discriminatory and/or retaliatory .

           1.0 .   After filing a complaint of discrimination with the Nl?OC in early, 200 8

and/or engaging in other protected activities, Defendants continued to retaliate against th e

Plaintiff by failing to pay medical expenses and/or prescription drug expenses as require d

 by the stipulation entered into by the parties and/or engaging in other retaliatory actions .

            11.    The aforementioned illegal activity occurred while the managers ,

 supervisors and/or employees were acting in the scope and course of their employmen t

 with the Defendants . All discriminatory and retaliatory acts alleged herein occurre d

 within the State of Nebraska.

            12.     At all time relevant, Defendants were aware of its duty and obligation s

 under the aforementioned statutes .         The Defendants' conduct was willful and/or i n

 reckless disregard to the Plaintiff's statutory rights . Punitive damages under the ADA
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and/or liquidated and/or double/treble damages payable to the common school fund fo r

Nebraska for the claims arising under Nebraska law are appropriate.

                                            COUNT I

       Plaintiff incorporates paragraphs 1 through 12 as if fully set forth herein .

        13.      Defendants' failure to provide reasonable accommodation and/or wrongfu l

termination of the Plaintiff were discriminatory in nature and in violation of th e

Nebraska Fair Employment Practices Act, Neb . Rev. Stat . Section 20-148 and/or th e

Americans with Disabilities Act, as amended .

        14.       As a direct, proximate result of Defendants' aforementioned illegal

conduct, Plaintiff has sustained compensatory damages, lost wages, loss of future incom e

and loss of fringe benefits, the total sum of which will be specifically pleaded whe n

ascertained .

        15.       Defendants' actions were done willfully and/or with malice and/or i n

reckless disregard to the protected rights of the Plaintiff . Punitive damages for the claims

arising under federal law and/or liquidated and/or double or treble damages for th e

violations arising under state law are appropriate .

                                                COUNT II

                Plaintiff incorporates paragraphs 1 through 15 as if fully set forth herein .

         16.      After Plaintiff engaging in one or more protected activities, th e

 Defendants willfully retaliated against the Plaintiff by terminating her employment and/o r

 failing to abide by the stipulations regarding Plaintiff's work related injuries and/or other

 retaliatory conduct not specifically set forth herein . The aforementioned willful
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  retaliatory conduct is violative of the Nebraska Fair Employment Practices Act, Neb .

  Rev. Stat . Section 20-148 and/or the ADA, as amended .

          17.        As a direct, proximate result of Defendants' aforementioned illegal

  conduct, Plaintiff has sustained compensatory damages, lost wages, the value of benefit s

  and will continue to incur future lost wages and job related benefits .

          18.        Defendants' actions were done willfully and/or with malice and/or wit h

  reckless indifference to the statutorily protected rights of the Plaintiff . Punitive damage s

  for the federal violations and/or double or treble damages for the state law violations ar e

  appropriate .

                                                  COUNT III

                  Plaintiff incorporates paragraphs 1 through 18 as if fully set forth herein .

          19.       After sustaining a work related injury and/or reporting her work relate d

  injury to the Defendants and/or seeking or pursing her legal remedies provided under th e

  Nebraska Workers' Compensation laws, the Defendant retaliated against the Plaintiff i n

  violation of Nebraska law .

          20.       As a direct, proximate result of Defendants' aforementioned illega l

  conduct, Plaintiff has sustained compensatory damages, lost wages, the value of benefit s

  and will continue to incur future lost wages and job related benefits .

          21.       Defendants' actions were done willfully and/or with malice and/or wit h

  reckless indifference to the statutorily protected rights of the Plaintiff . Double or trebl e

  damages payable to the common school fund for the State of Nebraska are appropriate .

          WHEREFORE, Plaintiff respectfully requests that this Court assume jurisdictio n

  herein as to all counts alleged herein and grant the following relief:
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        a.      Declare the conduct of the Defendants to be violative of the rights of th e

Plaintiff under the appropriate federal or state law or laws ;

        b.      Direct the Defendants to reinstate and/or instate Plaintiff to her previousl y

held position with back pay, all the job related benefits and job related increments t o

which she is entitled, including interest thereon, or to find that reinstatement is no t

appropriate and to award her front pay according to law ;

        c.      Award the Plaintiff compensatory damages for pain, suffering ,

inconvenience, humiliation and emotional distress in an amount to be determined by th e

jury or the court ;

        d.       Award the Plaintiff punitive for the federal violations and/or liquidate d

and/or double or treble damages for violations of state law against the Defendants in a n

amount to be determined by the jury or the Court ;

         e.      Enjoin the Defendants from any further discrimination or retaliatio n

against the Plaintiff;

         f.      Award the Plaintiff costs and reasonable attorney's fees and such . othe r

 and fu rther relief as the Court deems just and reasonable and appropriate to correct the

 wrong done to him .

                                         FOR: DEBORAH J . BURNS



                                         BY:                      /._
                                                 VINCENT 1\71. POWERS & ASSOCIA               S
                                                 Kathleen M. Neary 2021 2
                                                 411 South 13 `h Street, Suite 300 ,
                                                 Lincoln. NE 6850 8
                                                 (402) 474-800 0
                                                 Nell 1een ;.v}*owgslaw .coin
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EEOC Form 161-9 (11/09)
                                       Doc
                            U .S . EQUAL    # 1 Filed:
                                         EMPLOYMENT    01/19/10 COMMISSIO
                                                    OPPORTUNITY  Page 10 Nof 11 - Page ID # 10

                                       NOTICE OF RIGHT TO               SUE (ISSUED ON REQUEST)
To : Deborah J . Burn s                                                                From : St. Louis District Office
      6230 South 91st Avenue                                                                   Robert A . Young Bld g
      Omaha, NE 68127                                                                          1222 Spruce St, Rm 8 .10 0
                                                                                               Saint Louis, MO 6310 3


                 On behalf of person(s) aggrieved whose identity is
                 CONFIDENTIAL (29 CFR §1601 . 7(a))
EEOC Charge No .                                         EEOC Representativ e                                           Telephone No .
                                                         Joseph J . Wilson ,
32E-2008-00454                                           investigato r                                                  (314) 539-781 6
                                                           Ea.

                                                                                     (See also the additional information enclosed   with this form . )
NOTICE TO THE PERSON AGGRIEVED :
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscriminatio n
Act (GINA) : This is your Notice of Right to Sue, issued under Title Vli, the ADA or GINA based on the above-numbered charge . It ha s
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice ; or your right to sue based on this charge will bp lost . (The time limit for filing suit based on a claim unde r
state law may be different .)
                  More than 180 days have passed since the filing of this charge .

                  Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC wil l
                  be able to complete its administrative processing within 180 days from the filing of this charge .
                  The EEOC is terminating its processing of this charge .
                   The EEOC will continue to process this charge .
Age Discrimination in Employment Act (ADEA) : You may sue under the ADEA at any time from 60 days after the charge was filed unti l
90 days after you receive notice that we have completed action on the charge . In this regard, the paragraph marked below applies t o
your case :
                   The EEOC is closing your case . Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHI N
                   90 DAYS of your receipt of this Notice . Otherwise, your right to sue based on the above-numbered charge will be lost .

                   The EEOC is continuing its handling of your ADEA case . However, if 60 days have passed since the filing of the charge ,
                   you may file suit in federal or state court under the ADEA at this time .

  Equal Pay Act (EPA) : You already have the right to sue under the EPA (filing an EEOC charge is not required .) EPA suits must be brough t
 in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment . This means that backpay due fo r
  any violations that occurred more than 2 years (3 years) before you file suit may not be collectible .

 If you file suit, based on this charge, please send a copy of your court complaint to this office .

                                                                           On behalf of the Commissio n




   Enclosures(s )
                                                          -IA/
                                                             James
                                                                 /U
                                                                                /A/
                                                                                 R . Neely, Jr . ,
                                                                                Directo r

   cc:           Victor F . Lapum a                                                       Kathleen M . Neary
                 Interim General Counse l                                                 Vincent M . Powers & Associate s
                 FATHER FLANAGAN'S BOYS' HOM E                                            411 S 13th Street, Suite 30 0
                 14100 Crawford St                                                        Lincoln, NE 68508
                 Boys Town, NE 68010
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EEOC,,orm 161-601109)
                                          Doc # 1 Filed: 01/19/10 Page 11 of 11 - Page ID # 11
                              U .S . EQUAL EMPLOYMENT OPPORTUNITY COMMISSIO N

                                        NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To : Deborah J . Burn s                                                               From : St. Louis District Offic e
      6230 S 91st Av e                                                                        Robert A . Young Bld g
      Omaha, NE 68127                                                                         1222 Spruce St, Rm 8 .10 0
                                                                                              Saint Louis, MO 6310 3


                On behalf of person(s) aggrieved whose 1de-nifty i s
                CONFIDENTIAL (29 CFR §1601 .7(a))

EEOC Charge No .                                         EEOC Representativ e                                            Telephone No .
                                                         Joseph J . Wilson ,
32E-2009-00544                                           Investigator                                                    (314) 539-781 6
                                                                                    (See also the additional information enclosed with this form . )
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          X      More than 180 days have passed since the filing of this charge .

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          X      The EEOC is terminating its processing of this charge .

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 any violations that occurred more than 2 years (3 years) before you file suit may not he collectible .

 If you file suit, based on this charge, please send a copy of your court complaint to this office .

                                                                            On behalf of the Commissio n


                                                                                          tsi
                                                                / ,             L&                                        December 22, 2009
   Enclosures(s )                                                                                                                 (Date Mailed)
                                                                        James R . Nee y, Jr, ,
                                                                             Directo r

   cc :         Victor F . Lapum a                                                       Kathleen Neary
                Assistant General Counse l                                               Vincent M . Powers & Associate s
                FATHER FLANAGAN'S BOYS' HOM E                                            411 South 13th Street, Suite 30 0
                14100 Crawford Stree t                                                   Lincoln, NE 68508
                Boys Town, NE 68010
